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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA JS-6

CIVIL MINUTES — GENERAL

 

 

 

Case No. 8:21-cv-01764-CJC-ADS Date February 28, 2022
Title Jose Contreras et al v. Ford Motor Company et al
PRESENT:

HONORABLE CORMAC J. CARNEY, UNITED STATES DISTRICT JUDGE

Rolls Royce Paschal Not Reported
Deputy Clerk Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFF: ATTORNEYS PRESENT FOR DEFENDANT:
None Present None Present

PROCEEDINGS: (IN CHAMBERS) ORDER DISMISSING ACTION ON JOINT
STIPULATION FOR SETTLEMENT

The Court, having been notified by a Joint Stipulation for Settlement [13] that the case
settled hereby orders this action dismissed without prejudice. The Court hereby orders all
proceedings in the case vacated and taken off calendar.

The Court retains jurisdiction for ninety (90) days to vacate this order and to reopen the
action upon showing of good cause that the settlement has not been completed.

 

Initials of Deputy Clerk = rrp

 

cc:

 

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